  Case 2:23-cv-05412-NJC-ARL Document 45 Filed 04/11/24 Page 1 of 1 PageID #: 605
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April 10, 2024


VIA EMAIL
                                                                                       SHARON N. BERLIN
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Re:    Central American Refugee Center, et al., v. Nassau
       County, et al.
       2:23-cv-5412 (NJC) (ARL)

Dear Counselors:

       Our firm is the counsel of record for defendants Nassau County, Nassau
County Police Department, Patrick Ryder, Officer John Doe, and Sergeant Sabrina
Gregg (“Defendants”) in the above-referenced civil action. Attached for service upon
you is Defendants’ Notice of Motion to Dismiss, as well as the Declaration Of
Sharon N. Berlin in Support of Motion to Dismiss and the Memorandum of Law in
Support of Defendants’ Motion to Dismiss the Second Amended Complaint.

      Pursuant to the briefing schedule set by Judge Choudhury and by Order dated
March 18, 2024, opposition papers, if any, must be served by May 8, 2024.

Sincerely yours,

 /s/ Sharon N. Berlin
Sharon N. Berlin

SNB/br
Enclosures
